Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 1 of 16




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     JAYSON JEFFREY PENN,
 2.     MIKELL REEVE FRIES,
 3.     SCOTT JAMES BRADY,
 4.     ROGER BORN AUSTIN,
 5.     TIMOTHY R. MULRENIN,
 6.     WILLIAM VINCENT KANTOLA,
 7.     JIMMIE LEE LITTLE,
 8.     WILLIAM WADE LOVETTE,
 9.     GARY BRIAN ROBERTS, and
 10.    RICKIE PATTERSON BLAKE,

        Defendants.



               DEFENDANT WILLIAM LOVETTE’S MOTION TO DISMISS
                       THE SUPERSEDING INDICTMENT


        Pursuant to Fed. R. Crim. P. 12(b)(3)(B), William Lovette moves to dismiss the

 superseding indictment for failure to plead the essential elements of a Sherman Act § 1 offense.

        Nothing in the 145 paragraphs of the indictment alleges with specificity that Mr. Lovette

 conspired to fix prices or rig bids with a competitor. In the indictment’s fourteen separate episodes

 of alleged conspiratorial behavior, only six mention Mr. Lovette and all but one communication

 involving Mr. Lovette are ordinary internal business communications with coworkers. The episode

 titled “Distributor-1’s Line-of-Credit Term” (Ind. ¶ 128 (“Episode 12”)) is the only paragraph in


                                                  1
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 2 of 16




 the indictment in which Mr. Lovette communicates with someone outside of his employer,

 Supplier-1.

        The indictment must be dismissed because the Government has failed to plead the essential

 elements of a Sherman Act offense. First, it fails to plead that Mr. Lovette agreed, combined, or

 conspired to join the alleged multi-year conspiracy to restrain trade—the actus reus necessary for

 an offense. Second, it fails to plead he had the mens rea to join and participate in the alleged

 conspiracy. The episodes involving Mr. Lovette show him to be engaged in legal business activity.

        Further, the per se rule does not apply to Mr. Lovette’s alleged acts. With the exception of

 Episode 12, the indictment alleges merely that Mr. Lovette had communications with his

 coworkers at Supplier-1 and passively received pricing information from them. In Episode 12,

 there is no allegation that Mr. Lovette and the other individual involved agreed to fix a credit term

 or to deny credit, or that either company took any action as a result. At most, therefore, the rule of

 reason applies to Mr. Lovette’s alleged acts, and there is no basis for a criminal indictment.

        Finally, the Government fails to plead a single “contract, combination . . . or conspiracy[.]”

 15 U.S.C. § 1. Instead, the Government alleges multiple conspiracies in a single count. The lack

 of a pleaded nexus among the fourteen episodes demonstrates the indictment’s duplicity.

                                          BACKGROUND

        The indictment mentions Mr. Lovette in just nine of the 145 paragraphs. Ind. ¶¶ 60, 94, 99,

 111, 115-117, 119, 128. Eight of the paragraphs that mention him show him to be: (i) a party to a

 telephone call with a coworker, as to which the content is not alleged, nor is there any connection

 of these routine business communication to the alleged conspiracy (Id. ¶ 99 (“Episode 7”)); (ii) an

 individual referenced in a coworker’s discussion with no allegation of what Mr. Lovette did or


                                                   2
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 3 of 16




 said (Id. ¶ 94 (“Episode 7”)); (iii) a passive actor who received, but did not respond to, sporadic

 emails from his own coworkers that allegedly contained competitors’ bid prices, which differed

 materially from each other, and did not contain the source of the market information (Id. ¶¶ 60

 (“Episode 1”), 111 (“Episode 8”)); (iv) an individual who received an unprompted email from a

 Supplier-1 sales representative allegedly containing pricing information from another supplier

 with no context regarding to what the pricing information relates or how it was acquired (Id. ¶¶

 115-16 (“Episode 9”)); and (v) part of a discussion with coworkers regarding whether to cover

 another supplier’s short supply (Id. ¶¶ 117, 119 (“Episode 10”)).

        Glaringly, it is not alleged that Mr. Lovette instructed any Supplier-1 employee to engage

 in, approved of, otherwise participated in, or had been informed of or knew that any information

 conveyed to him by an employee of Supplier-1 was obtained pursuant to any agreement in

 violation of § 1. Mr. Lovette’s only alleged communication with a competitor is one in which he

 informed a competitor that Supplier-1 had already rejected a customer’s request to extend credit

 terms. Id. ¶ 128. Asked if he would provide an update if Supplier-1’s response to that customer

 changed, Mr. Lovette replied in relevant part, “Will do[.]” Id. The Government does not allege

 that Mr. Lovette ever followed up with the individual or asked anyone else to do so, tried to

 coordinate a response to the customer with any indicted co-conspirator or their employer, or agreed

 to anything else. Id.

                                          ARGUMENT

 I.     THE GOVERNMENT FAILS TO ALLEGE THAT MR. LOVETTE COMMITTED
        AN ACTUS REUS OR HAD THE MENS REA TO VIOLATE THE SHERMAN ACT.

        The Government must sufficiently allege a “[1] contract, combination . . . or conspiracy,

 [2] in restraint of trade or commerce [3] among the several States,” and [4] that Mr. Lovette

                                                 3
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 4 of 16




 “knowingly joined and participated in the conspiracy.” United States v. Suntar Roofing, Inc., 897

 F.2d 469, 480 (10th Cir. 1990) (citing United States v. Metro. Enters., Inc., 728 F.2d 444, 449

 (10th Cir. 1984)); 15 U.S.C. § 1; see also Elements of the Offense, Department of Justice Release,

 Nov. 2107 (https://www.justice.gov/archives/jm/antitrust-resource-manual-1-attorney-generals-

 policy-statement).

        Under the Fifth Amendment, an indictment must “[1] contain the elements of the offense

 and [2] sufficiently apprise the defendant of what he must be prepared to meet[.]” United States v.

 Salazar, 720 F.2d 1482, 1486 (10th Cir. 1983), cert. denied, 469 U.S. 1110 (1985). To that end,

 every indictment must contain “the essential facts constituting the offense charged[.]” Fed. R.

 Crim. P. 7(c)(1). Failure to plead all the essential elements results in dismissal. See Hamling v.

 United States, 418 U.S. 87, 117 (1974).

        The Government can plead the actus reus and mens rea explicitly or implicitly. Suntar,

 897 F.2d at 479-80 (citing Metro. Enters., Inc., 728 F.2d at 449). In so pleading, the issue remains

 how to plead the defendant “knowingly joined and participated in the conspiracy.” Id.

        a.      Courts Must Apply the Presumption in Favor of a Scienter Requirement for
                an Act Alleged to Be a Criminal Violation of the Sherman Act.

        The mens rea element—knowledge—must modify every non-jurisdictional element in

 accordance with the presumption in favor of a scienter requirement. See Rehaif v. United States,

 139 S. Ct. 2191, 2197 (2019); Elonis v. United States, 135 S. Ct. 2001 (2015); Staples v. United

 States, 511 U.S. 600 (1994); United States v. X-Citement Video, 513 U.S. 64, 72 (1994). Thus, the

 Government must plead that Mr. Lovette: (i) knowingly entered into a “contract, combination . . .

 or conspiracy,” and (ii) did so knowing that the “contract, combination . . . or conspiracy” was



                                                  4
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 5 of 16




 intended to restrain competition. 15 U.S.C. § 1.1

        Two cases, Elonis and Staples, are on point. Like the Sherman Act, the statutes at issue in

 both omit the mens rea from the statutory text. Elonis, 135 S. Ct. at 2011 (involving 18 U.S.C.

 § 875); Staples, 511 U.S. at 602 (involving 26 U.S.C. § 5861). Caselaw similarly establishes

 “knowledge” as the mens rea element for both crimes. Elonis, 135 S. Ct. at 2011; Staples, 511

 U.S. at 618-19. The Supreme Court held a defendant must have knowledge of “each of the statutory

 elements that criminalize otherwise innocent conduct.” Elonis, 135 S. Ct. at 2011. Alleging a

 defendant’s “knowledge only of traditionally lawful conduct” is not enough. Staples, 511 U.S. at

 618-19; accord Elonis, 135 S. Ct. at 2004. The same is true for the Sherman Act.

        In Elonis, the statute barred the transmission of “[1] any communication [2] containing any

 threat . . . to injure the person of another” [3] through interstate commerce. Elonis, 135 S. Ct. at

 2023. The Government argued that the defendant need only know he is transmitting a

 communication. Id. at 2011. The Supreme Court rejected the argument, holding that penalizing a

 defendant merely for knowingly transmitting a communication, without more, would “criminalize

 otherwise innocent conduct.” Id. The “‘crucial element separating legal innocence from wrongful

 conduct’ is the threatening nature of the communication.” Id. The Tenth Circuit has long

 recognized this “presumption against penalizing defendants who have ‘knowledge only of

 traditionally lawful conduct.’” United States v. Harry, No. CR 10-1915 JB, 2014 U.S. Dist. LEXIS

 159470, at *16 (D.N.M. Oct. 14, 2014) (quoting United States v. Saavedra, 523 F.3d 1287, 1289



 1
  The scienter requirement applies to every non-jurisdictional element of criminal statutes, except
 “‘regulatory’ or ‘public welfare’ [statutes that] carry only minor penalties.” Rehaif, 139 S. Ct. at
 2197; Staples, 511 U.S. at 602. The Sherman Act carries a potential penalty of ten years in prison
 and thus does not meet the exception. 15 U.S.C. § 1; Staples, 511 U.S. at 602.

                                                     5
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 6 of 16




 (10th Cir. 2008)) (quoting Staples, 511 U.S. at 617)). In Harry, the court declined to adopt the

 Government’s reading of a criminal statute when “the mens rea -- knowingly -- would apply only

 to otherwise innocent conduct[.]” Id. at *29.

        In Metropolitan Enterprises, the Tenth Circuit held the “requisite intent . . . was satisfied

 by showing that the appellants knowingly joined and participated in a conspiracy to rig bids.” 728

 F.2d at 450 (citing United States v. Cargo Serv. Stations, Inc., 657 F.2d 676, 684 (5th Cir. 1981)).

 The court’s citation to Cargo Service Stations sheds light on this issue: there the Fifth Circuit held

 “the Government must prove [the co-conspirators] intended to fix prices”—a finding that “supplies

 the criminal intent necessary for a conviction of a criminal antitrust offense.” 657 F.2d at 684.2

        If the Sherman Act’s mens rea requirement were deemed to modify only the first element—

 entry into a “contract, combination . . . or conspiracy”—but not the second—that the defendant

 know the objective to be to restrain trade or commerce—then § 1 could penalize one with

 “knowledge only of traditionally lawful conduct”. Harry, 2014 U.S. Dist. LEXIS 159470, at *16

 (quoting Saavedra, 523 F.3d at 1289 (10th Cir. 2008)) (quoting Staples, 511 U.S. at 617)); 15

 U.S.C. § 1.

        b.      The Government Fails to Allege that Mr. Lovette Committed an Actus Reus or
                Had the Mens Rea to Violate the Sherman Act.

        Assuming arguendo the Government pleads an indictable “contract, combination, or . . .

 conspiracy,” the Government still fails to allege facts to support an inference that Mr. Lovette



 2
   Other courts agree that “knowledge alone [of the conspiracy] is not sufficient.” See In re
 Magnesium Oxide Antitrust Litig., No. 10-5943 (DRD), 2011 U.S. Dist. LEXIS 121373, at *61
 (D.N.J. Oct. 20, 2011) (quoting In re Vitamins Antitrust Litig., 320 F. Supp. 2d 1, 16 (D.D.C.
 2004)). The defendant must also have “knowledge of the conspiracy to fix prices . . . and [have]
 intended to join that conspiracy.” Id. at *61.

                                                   6
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 7 of 16




 joined a “contract, combination . . . or conspiracy[.]” 15 U.S.C. § 1. The Justice Department has

 acknowledged the necessary actus reus in its public guidance: “In effect, the conspiracy must

 comprise an agreement, understanding or meeting of the minds between at least two competitors

 or potential competitors, for the purpose or with the effect of unreasonably restraining trade. The

 agreement itself is what constitutes the offense . . . .”3

        In addition, Mr. Lovette must have acted with mens rea by: (i) knowingly joining the

 “contract, combination . . . or conspiracy,” and (ii) doing so knowing that the “contract,

 combination . . . or conspiracy” was intended to rig bids or restrain competition. 15 U.S.C. § 1.

        The Government’s group-pled conclusions are the only allegations of Mr. Lovette’s alleged

 mens rea over the alleged seven-year conspiracy.4 The Court, however, should not accept

 conclusory, group-pled allegations as sufficient. Only “well-pleaded facts, as distinguished from

 conclusory allegations, must be taken as true” in an indictment. See United States v. Morgan, No.

 02-454 JC, 2002 U.S. Dist. LEXIS 30116, at *1-2 (D.N.M. Oct. 1, 2002). “[A]ll the material facts

 and circumstances . . . must be stated, or the indictment will be defective.” United States v.

 Kilpatrick, 821 F.2d 1456, 1463 (10th Cir. 1987). Moreover, the Fifth Amendment compels the

 Government to plead facts supporting the inference of Mr. Lovette’s actus reus and mens rea, not

 a group’s actus reus and mens rea. “[I]f it does not, it fails to charge that offense.” See United



 3
   https://www.justice.gov/archives/jm/antitrust-resource-manual-1-attorney-generals-policy-
 statement (emphasis added).
 4
   Defendants “participated in a continuing network . . . an understood purpose of which was to
 suppress and eliminate competition through rigging bids and fixing prices and price-related terms”
 and defendants used the “continuing network . . . to reach agreements and understandings to submit
 aligned—though not necessarily identical—bids and . . . prices [and] price-related terms . . ..” Ind.
 ¶¶ 47-48(a)

                                                    7
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 8 of 16




 States v. Cline, No. 00-40024-03/06-SAC, 2002 U.S. Dist. LEXIS 10001, at *5 (D. Kan. Apr. 5,

 2002) (quoting United States v. Cabrera-Teran, 168 F.3d 141, 143 (5th Cir. 1999)) (dismissing

 conspiracy counts for failure to allege an essential element). This requirement serves “one of the

 central purposes of the indictment: to ensure that the grand jury finds probable cause [for] each

 element of the offense” for each defendant. Id. (quoting Cabrera-Teran, 168 F.3d at 143).

 Otherwise, the Government could “skip over elements for which it may not have established

 probable cause and attempt to convict those it may not have even properly indicted.” United States

 v. Neha, No. CR 04-1677 JB, 2005 U.S. Dist. LEXIS 55691, at *11 (D.N.M. Dec. 2, 2005)

 (dismissing indictment for failure to allege essential elements). None of the six episodes

 mentioning Mr. Lovette allege facts that create an inference that Mr. Lovette agreed to rig bids or

 fix prices. Contrast, Ind. ¶¶ 60, 94, 99, 115-117, 119, 128.

                1.      Four of the Six Episodes Allege Internal Business Communications of
                        Employees at Supplier-1 with No Pleaded Connection to a Conspiracy.

        Allegations of routine business communications fail to create an inference that Mr. Lovette

 entered into an agreement in violation of § 1, much less that he did so knowingly or intentionally.

 Courts have dismissed indictments for failing to differentiate legal from illegal conduct. Resolution

 Tr. Corp. v. Rowe, Case No. C 90-20114 BAC, 1993 U.S. Dist. LEXIS 1497, at *22-23 (N.D. Cal.

 Feb. 5, 1993) (dismissal ordered when it could “not be inferred from the mere preparation of tax

 returns or the performance of routine accounting services that [defendant] was aware of the

 conspiracy”). This is particularly true with respect to business communications that are ordinary

 on their face and are ubiquitous. Chamarac Props. v. Pike, 86 Civ. 7919 (KMW), 1993 U.S. Dist.

 LEXIS 14593, at *13 (S.D.N.Y. Oct. 15, 1993) (“phone calls and correspondence . . . appear to be

 part of routine business transactions” and did not provide the “factual basis from which to infer”

                                                  8
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 9 of 16




 defendant’s knowledge of the scheme). Business conduct conspiracies contrast with conspiracies

 to commit a drug offense, for example, in which the alleged conduct res ipsa supports an inference

 of the defendant’s guilty knowledge. See, e.g., United States v. Thomas, 690 F.3d 358, 367 (5th

 Cir. 2012) (“[W]e have inferred knowledge of the conspiracy when the defendant is entrusted to

 carry a large amount of drugs.”).

        Four of the six episodes in which Mr. Lovette is mentioned in the indictment simply allege

 that Mr. Lovette received emails from his coworkers that contained pricing information. Ind. ¶¶

 60, 111, 115, 116. There is no allegation that Mr. Lovette knew the source of the pricing

 information, directed anyone to obtain or to share the pricing information, or agreed that Supplier-

 1 should change its independent pricing strategy based on the information shared. As a matter of

 law these allegations of routine business communications with Supplier-1 employees are not

 sufficient to allege the necessary actus reas or mens rea needed to plead a violation of § 1.

                2.      Episode 10 Shows a Unitary Act with No Connection to a Conspiracy.

        The allegations of Episode 10 show Mr. Lovette (and Supplier-1) competing on the merits

 for a customer’s long-term business, not trying to enforce an alleged conspiracy. Id. ¶¶ 117, 119.

 As alleged in this episode, Supplier-3 asked Supplier-1 to assist in providing broiler chickens to a

 customer because Supplier-3 was unable to fulfill the customer’s order. Id ¶ 117. Supplier-3 was

 unable to fulfill the customer’s order because it had increased its “market share and distribution”

 to its higher-priority customer. Id. ¶ 117(b). The allegations thus show that Supplier-3 had

 contracted with customers, but failed to meet its supply commitments. Id. ¶ 117(a)-(d). By bidding

 to supply chicken it did not have, Supplier-3 secured the advantage of holding long-term contracts

 and then giving priority of restricted supply to those customers that it valued most. Id. ¶ 117(b).


                                                  9
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 10 of 16




        With Mr. Lovette’s approval, Supplier-1 declined to cover Supplier-3’s shortfalls. Id. ¶

 117(c)-(e). The communications demonstrate Supplier-1’s strategy was to compete against

 Supplier-3 for the customer’s long-term business, not an effort to punish Supplier-3 to enforce a

 conspiracy. Id. ¶ 117(c). Mr. Lovette and Supplier-1 were competing with Supplier-3 by

 demonstrating Supplier-1’s ability (unlike Supplier-3) to meet the customer’s supply needs.

 Essentially, the Government would have the Court infer that Mr. Lovette participated in a

 conspiracy because he refused to help a competitor. These allegations do not demonstrate

 participation in the conspiracy, nor can they support an inference against Mr. Lovette as a matter

 of law. See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 597 n.21 (1986)

 (“[C]onduct that is as consistent with permissible competition as with illegal conspiracy does not,

 without more, support even an inference of conspiracy.”).

        Setting aside the pro-competitive nature of this episode, it cannot support an inference that

 Mr. Lovette had knowledge or participated in an unlawful conspiracy. The communications

 involving Mr. Lovette are entirely among employees of Supplier-1. Ind. ¶¶ 117-119. The

 indictment fails to allege Supplier-3 engaged in conduct that violated the alleged conspiracy’s

 terms; Mr. Lovette knew of such a breach; or that Supplier-1 or Mr. Lovette communicated with

 any co-conspirator about an unpleaded breach or retaliation. Instead, the alleged facts demonstrate

 that Mr. Lovette communicated internally with Supplier-1 employees regarding Supplier-1’s firm

 strategy to win business from Supplier-3. “[A]n internal ‘agreement’ to implement a single,

 unitary firm’s policies does not raise the antitrust dangers that §1 was designed to police.”

 Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752, 769 (1984). “Coordination within

 a firm is as likely to result from an effort to compete as from an effort to stifle competition[,]”


                                                 10
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 11 of 16




 which “may be necessary . . . to compete effectively.” Id. at 769. Copperweld bars the inference

 that Mr. Lovette knowingly restrained trade by communicating with coworkers about a firm

 decision to compete with a competitor aggressively.

                3.     Episode 12 Shows a Short Exchange about a Customer’s Credit Term (Not
                       Prices or Bids or an Agreement to Restrain Trade).

        Episode 12 contains the indictment’s sole communication between Mr. Lovette and a

 competitor’s employee, who is not an indicted alleged co-conspirator and appears in no other

 episode. Ind. ¶ 128. The Government, however, fails to plead the requisite mens rea. The

 indictment alleges that Supper-5’s employee texted Lovette asking if he “herd [sic] that [a certain

 customer] is going to 65 day terms with their supplie[r]s?” and that Lovette responded “[y]es, we

 told them NO!” Id. On the face of the text, Supplier-1 had already made its decision. Mr. Lovette

 did not ask what the competitor intended to do; nor did he ask that the competitor agree to respond

 “no” as well. The competitor did not ask Supplier-1 to maintain its position, and there is no

 agreement to fix a credit term. Id. Thus, there was no actus reus. When asked to provide an update

 if Supplier-1’s answer was to change, Mr. Lovette replied in relevant part, “Will do[.]” Id. The

 indictment, however, neither alleges that Mr. Lovette followed up with the individual nor that he

 asked anyone else to do so. The indictment alleges no other communication between them or their

 companies on this issue and it alleges no act or failure to act following from this communication

 that might evidence an agreement.5



 5
   The indictment does not disclose what the Government knows was found in the discovery—
 Supplier-1’s position did change. Supplier-1 independently renegotiated the credit term with the
 customer. There is a reason there are no further allegations of an agreement in the indictment. We
 see in the discovery that Supplier-5 also went on to negotiate new credit terms with the customer
 and there is no evidence of a subsequent communication with the competitor.

                                                 11
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 12 of 16




                4.      The Indictment Fails to Allege an Act That Can Be Prosecuted Criminally.

        The indictment further fails to allege that Mr. Lovette engaged in a per se restraint of trade.

 The Government may criminally prosecute only those restraints that are conclusively presumed

 unreasonable under the per se rule. See United States v. Kemp & Assoc., Inc., 907 F.3d 1264, 1274

 (10th Cir. 2018) (citing U.S. Dep’t of Justice, Antitrust Div., Antitrust Division Manual, at III-12

 (5th Ed. 2018)). The per se rule applies to certain horizontal restraints (i.e., those between

 competitors) deemed “manifestly anticompetitive,” such as price-fixing and market allocation

 agreements. Cont'l T.V., Inc. v. GTE Sylvania Inc., 433 U.S. 36, 50 (1977); Arizona v. Maricopa

 Cty. Med. Soc'y, 457 U.S. 332, 344 n.15 (1982).

        At most, the rule of reason alone should apply to Mr. Lovette’s alleged conduct. Mere

 “exchanges of information [between competitors] do not constitute a per se violation of the

 Sherman Act.” United States v. U.S. Gypsum Co., 438 U.S. 422, 441 n.16. (1978). “[T]he

 dissemination of price information is not itself a per se violation of the Sherman Act.” United

 States v. Citizens and Southern National Bank, 422 U.S. 86, 113 (1975); see also, Todd v. Exxon

 Corp., 275 F.3d 191, 199 (2d Cir. 2001) (discussing precedents). And, application of the per se

 rule is based upon “demanding standards.”6 A “departure from the rule-of-reason standard must

 be based upon demonstrable economic effect rather than…upon formalistic line drawing.” Cont’l.

 T.V., Inc., 433 U.S. at 58-59. As a matter of law, Mr. Lovette’s actions do not amount to a per se

 violation without the pleading of a host of other factors, none of which appear in the indictment.




 6
   Cont’l T.V., Inc., 433 U.S. at 50 (citing to the demanding standards for per se treatment explained
 in Northern Pac. R. Co. v. United States, 356 U.S. 1 (1958)).

                                                  12
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 13 of 16




        At worst, the allegations related to Mr. Lovette for four of the six episodes mentioning him

 demonstrate that he received competitor information from Supplier-1 employees. Even assuming

 such information came from competitors, which is not alleged, those allegations are insufficient to

 allege a per se violation. Furthermore, internal communications regarding whether to cover shorts

 for a competitor (Episode 10) are also insufficient to allege a per se violation. Finally, as relates to

 Episode 12, in the credit context, courts apply the per se rule only when competitors allegedly

 agree to fix credit terms or to deny credit. Catalano, Inc. v. Target Sales, Inc., 446 U.S. 643, 650

 (1980). Neither is applicable here. At most, the exchange in Episode 12 constitutes a refusal to

 accept a customer’s unilateral mass request for extension of credit terms without negotiation, not

 a coordinated denial of credit or a fixing of credit terms. Ind. ¶ 128. Nothing in these allegations

 indicates that Mr. Lovette and the competitor’s employee agreed to fix a credit term or to deny

 credit to a customer. Id. Because the rule of reason should apply to the allegations against Mr.

 Lovette, the indictment should be dismissed.

 II.    THE GOVERNMENT FAILS TO PLEAD                                A    SINGLE       “CONTRACT,
        COMBINATION . . . OR CONSPIRACY.”

        To be part of an alleged conspiracy, a defendant’s acts or statements “must be

 interdependent so that each member of the conspiracy depends upon [them] to make the conspiracy

 succeed.” See United States v. McDowell, No. 09-20133-JWL, 2011 U.S. Dist. LEXIS 99601, at

 *10 (D. Kan. Sep. 6, 2011). “Co-conspirators are interdependent when they intend to act together

 for their shared mutual benefit within the scope of the conspiracy charged.” Id. (quoting United

 States v. Acosta-Gallardo, 656 F.3d 1109, 1124 (10th Cir. 2011)). The allegations against Mr.

 Lovette fail to support an inference that he agreed to join or participate in the single conspiracy

 alleged. At most the indictment pleads a series of isolated episodes without sufficient connection

                                                   13
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 14 of 16




 to the single alleged conspiracy. A court can dismiss an indictment on duplicity grounds whenever

 it fails to provide a separate count for each charged offense See Fed. R. Crim. P. 8(a); see also

 12(b)(3)(B). For a conspiracy charge, duplicity occurs when an indictment “on its face presents

 more than one conspiracy in a single count[.]” United States v. Eury, Nos. 1:14CR39-1; 1:14CR39-

 5, 2015 U.S. Dist. LEXIS 53338, at *13 (M.D.N.C. Apr. 23, 2015). Duplicity offends the Sixth

 Amendment by presenting “a danger that the jury may convict a defendant [without] a unanimous

 agreement on precisely which charge is the basis for the conviction[.]” United States v. Ibarra-

 Diaz, 805 F.3d 908, 930 (10th Cir. 2015) (quoting United States v. Washington, 653 F.3d 1251,

 1262 (10th Cir. 2011)). Federal courts have dismissed single conspiracy counts for duplicity when,

 as now, the count encompasses multiple alleged conspiracies. See, e.g., Eury, 2015 U.S. Dist.

 LEXIS 53338, at *16-17 (the “key actors, methods, and goals” of the alleged schemes were

 sufficiently different); United States v. Munoz-Franco, 986 F. Supp. 70, 72 (D.P.R. 1997) (“[a]

 simple reading” of the conspiracy charge revealed “two separate conspiracies which did not

 merge”); United States v. Hardy, 762 F. Supp. 1403, 1408-10 (D. Haw. 1991) (conspiracy count

 was duplicitous because (1) the nature of the two transactions was markedly dissimilar, (2) the

 individuals in each transaction did not overlap, and (3) the time lapse between the two transactions

 was eighteen months).

        Surveying the episodes in the indictment makes the point clear. Episode 10 demonstrates

 unilateral action by Mr. Lovette, having no communication or pleaded connection of any kind with

 any alleged co-conspirator. In Episode 12, the competitor’s employee is in none of the other

 fourteen episodes, Ind. ¶¶ 1-143; the episode shows no discussion of bids or prices; and no other

 episode involves credit terms. Id. ¶ 128. The alleged statements in both Episodes 10 and 12 are


                                                 14
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 15 of 16




 thus not the kind upon which “each member of the conspiracy depends . . . to make the [alleged]

 conspiracy succeed.” See McDowell, 2011 U.S. Dist. LEXIS at *10. Rather, they reflect a

 “discrete, self-contained” event. See Hardy, 762 F. Supp. at 1408; see also Ind. ¶ 128.

        Although “ordinarily” the remedy in the Tenth Circuit is requiring the Government to select

 which of the duplicitous indictments to prosecute, this is not an ordinary case. United States v.

 Bowline, 593 F.2d 944, 946-47 (10th Cir. 1979).7 Like in Hardy, the indictment alleges multiple

 conspiracies in one count. Because Mr. Lovette’s Fifth and Sixth Amendment rights “hang in the

 balance,” the indictment should be dismissed as to him on duplicity grounds. Hardy, 762 F. Supp.

 at 1410 (jury charge will not cure risk to Fifth and Sixth Amendment rights).

                                         CONCLUSION

        Mr. Lovette respectfully asks that this Court dismiss the superseding indictment as to him.

 This 26th day of July 2021.                  Respectfully Submitted,

                                              /s/ John A. Fagg, Jr.
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   In Bowline, the indictment’s single conspiracy count appeared to assert “at least three
 conspiracies[.]” 593 F.2d at 946. On reconsideration, the district court dismissed the conspiracy
 count for duplicity, which the Tenth Circuit affirmed. Id. at 946-48.

                                                 15
Case No. 1:20-cr-00152-PAB Document 303 filed 07/26/21 USDC Colorado pg 16 of 16




                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of July 2021, I electronically filed the foregoing

 DEFENDANT WILLIAM LOVETTE’S MOTION TO DISMISS THE SUPERSEDING

 INDICTMENT with the Clerk of Court using the CM/ECF system which will send notification

 of such filing to all counsel of record.



                                            /s/ John A. Fagg, Jr.




                                               16
